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                       EXHIBIT B-1
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


  DISNEY ENTERPRISES, INC.,
  LUCASFILM LTD. LLC, and
  LUCASFILM ENTERTAINMENT
  COMPANY LTD. LLC,                                Case No.: 6:22-cv-02417-RBD-LHP

                        Plaintiffs,

                  -against-

  THE SECRET DIS GROUP LLC,
  POPSELLA INC., CHRISTOPHER B.
  MARTIN, and HANNAH MARTIN,

                        Defendants.



          PLAINTIFFS’ FIRST INTERROGATORIES TO DEFENDANT
                       THE SECRET DIS GROUP LLC

        In accordance with Federal Rule of Civil Procedure 33, Plaintiffs, Disney

  Enterprises, Inc., Lucasfilm Ltd. LLC, and Lucasfilm Entertainment Company Ltd.

  LLC, by and through their undersigned attorneys, hereby direct their First

  Interrogatories to Defendant The Secret Dis Group LLC a/k/a The Secret Disney

  Group a/k/a Sparkling Dreamers a/k/a Sparkling Members, and request that

  each interrogatory (collectively, the “Interrogatories”) be answered separately and

  fully in writing within thirty (30) days from the date of service.

        The Interrogatories are governed by the following Definitions and

  Instructions.
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                                         DEFINITIONS

        Notwithstanding any definition set forth below, each word, term, or phrase

  used in the Interrogatories is intended to have the broadest meaning permitted

  under the Federal Rules of Civil Procedure. As used in the Interrogatories, the

  following terms are to be interpreted in accordance with these definitions:

        1.        “Communication” means any manner or means of disclosure,

  transfer, or exchange of information or expression, or statement of any nature,

  whether verbal or written, including Documents as defined below.

        2.        “Complaint” means the Complaint filed by Plaintiffs in this action,

  and any amendments thereto that may subsequently be filed.

        3.        “Concerning” means relating to, referring to, describing, evidencing,

  or constituting.

        4.        “Defendant CBM” refers to Defendant Christopher B. Martin.

        5.        “Defendant HVM” refers to Defendant Hannah Martin a/k/a

  Hannah Vieira a/k/a Hannah Ferreira.

        6.        “Defendants” collectively refers to Defendant CBM, Defendant HVM,

  Popsella, and SDG.

        7.        "DEI" refers to Plaintiff Disney Enterprises, Inc., including any

  subsidiaries,     parents,   affiliates,   divisions,   agents,   servants,   employees,

  representatives, officers, directors, accountants, attorneys, persons or entities

  under DEI's control, or acting or purporting to act on behalf of DEI.

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        8.     “Describe” means to disclose any information or Document that, in

  whole or in part, characterizes, evaluates, appraises, assesses, or provides a

  general explanation of the specified subject.

        9.     “Document(s)” means all written or graphic material or any other

  means of preserving thought or action of any type regardless of origin or location,

  however produced, reproduced, or otherwise documented (e.g.: written,

  typewritten, recorded, filmed, printed, transcribed, stored, saved, etc.) by any

  process and in any medium (electronic, hardcopy, etc.), regardless if claimed to be

  privileged or otherwise excludable from discovery, now or formerly in the

  possession, custody, or control of any Defendant(s), or agent(s), representative(s),

  affiliate(s), predecessor(s), or successor(s) of such Defendant(s), or Defendant(s)

  has the right or ability to obtain the subject material, including without limitation:

  records, papers, notes, correspondence (internal or otherwise), database content;

  ledgers, books, financial statements, checks, vouchers, purchase orders, invoices;

  memoranda, summaries, and reports regarding discussions, conversations

  (personal or otherwise), or acts/action (e.g.: negotiations, meetings, interviews,

  investigations); business plans, commercial proposals or offers, calculations,

  evaluations, analyses (financial or otherwise), instructions, requisitions, manuals,

  guidelines, work papers, audits; development records, specifications, charts,

  labels, artwork, mock-ups, prototypes, drawings, spreadsheets, graphs, sketches,

  tables, photographs; calendar events and notes, meeting minutes, transcripts,

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  opinions of consultants or counsel; agreements and contracts (formal or informal),

  assignments, licenses; enclosures, removable notes (e.g.: Post-Itâ), or attachments

  affixed to any of the foregoing, as well as any tangible files and contents of the

  same; advertisements, catalogs, brochures, pamphlets, promotional content and

  material; trade/industry articles and commentary, press releases, media coverage;

  electronic mail, chat logs, message threads, audio or video recordings; originals,

  drafts (regardless if resulting in a final version), and all copies that differ in any

  respect from the original (e.g.: any notation, annotation, marking, or data not on

  the original) [all of which shall be treated as separate Documents];

  Communications (as defined above); and any Electronically Stored Information

  (as defined below) found on, or otherwise available via, Electronic Media (as

  defined below).

        10.    "Electronic Media" refers to any system or equipment used to store,

  record, transmit, or otherwise access ESI. For purposes of clarity, Electronic Media

  includes computer hard drives, network memory and backup means, servers,

  external or removable drives (e.g.: thumb drives), disks, magnetic media, mobile

  devices (e.g.: smart phones; tablets), telephone equipment, user accounts and

  archives, mobile or web applications, and web-based services (e.g.: cloud storage).

        11.    “Electronically Stored Information” (ESI) means digital information

  stored in, or accessible through, a data retrieval system or device, otherwise

  referred to as Electronic Media.

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             a.    ESI refers to the following categories of digital information: i)

                   active data [immediately and reasonably accessible on current

                   systems]; ii) archived data [residing on backup or storage

                   media]; and iii) deleted data [that which has been removed

                   from a system but is recoverable].

             b.    For purposes of clarity, ESI includes Documents (as defined

                   above), files/file fragments, software or application output,

                   system account data, stored textual and image materials (e.g.:

                   word processing content, text files, spreadsheets, slide decks,

                   PDFs, screenshots, photos, and videos); application data; user

                   account data and content; audio and video recordings (e.g.:

                   Reels;   Facebook    videos);   calendar    entries;   electronic

                   communications (e.g.: emails, SMS/text messages, instant

                   messages) and transmittal/receipt data for the same;

                   messaging      application      content     (e.g.:     WhatsApp

                   correspondence); chat logs (e.g.: Meta direct messaging);

                   activity logs; computer or operating system generated records;

                   web analytics; databases; temporary content (e.g.: Meta Stories;

                   Snapchat correspondence); historical content (e.g.: deleted or

                   disabled posts, photos, videos, livestreams, chats, messages,

                   pages, profiles, groups).

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        12.    “Expenses” means, as relating to a profit and damages assessment,

  any fixed or variable costs Defendant claims should be deducted in calculating

  Defendants’ profits derived from the actions at issue in this Litigation.

        13.    “Gross Revenue” means, as relating to a profit and damages

  assessment, any revenue generated from Defendants’ actions at issue in this

  Litigation. For purposes of clarity, Gross Revenue includes financial gain derived

  from providing the Infringing Services, sales of Unauthorized Merchandise, and

  any content monetization or advertising/marketing practices.

        14.    “Identify” means the following information is requested when used

  in reference to the specified category below:

               a.    Individual(s) – the person’s full name, present or last known

                     residential and business addresses, and present or last known

                     position or business affiliation;

               b.    Business(es) – the entity’s full name, form of organization,

                     present or last known address of its principal place of business,

                     the date on which it commenced doing business, and all officers

                     or persons with an ownership interest;

               c.    Document(s) – type of documentation, date created, author(s),

                     addressee(s), signatories, parties or other individuals identified

                     therein, its present location or custodian(s), and a brief

                     description of the contents; and

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              d.     Communication(s) – type of correspondence, date created,

                     identity of the parties conducting such correspondence, and a

                     brief description of the contents.

        15.   “Infringing Services” means the online retail business operated by

  Defendants, or any otherwise commercial practices involving the manufacturing,

  marketing, selling, offering for sale, and distributing of counterfeit and/or

  infringing goods which reproduce, depict, and/or incorporate Plaintiffs’

  Properties, including such unauthorized activities as identified in the Complaint

  and which are subject of the Litigation. For purposes of clarity, the Infringing

  Services includes the Defendants’ creation and use of the SDG Content.

        16.   “Litigation” refers to this lawsuit, as brought by the Plaintiffs, as well

  as the underlying subject matter and allegations regarding the actions and

  business practices of Defendant CBM, Defendant HVM, Popsella, and SDG.

        17.   "Lucasfilm" collectively refers to Plaintiffs Lucasfilm Ltd. LLC and

  Lucasfilm Entertainment Company Ltd. LLC, including any subsidiaries, parents,

  affiliates, divisions, agents, servants, employees, representatives, officers,

  directors, accountants, attorneys, persons or entities under Lucasfilm's control, or

  acting or purporting to act on behalf of Lucasfilm.

        18.   “Person(s)” means any natural person, corporation, partnership,

  company, sole proprietorship, joint venture, firm, agency, governmental body or




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  department, and any other privately or publicly owned or controlled, for-profit or

  nonprofit organization, association, entity.

        19.   “Plaintiffs” collectively refers to DEI and Lucasfilm.

        20.   “Plaintiffs’ Copyrights” shall, individually and collectively, refer to

  the copyrights owned by DEI and Lucasfilm, including the copyrights evidenced

  by the U.S. Copyright Registrations identified in the Complaint and indexed in

  Exhibit A, as attached hereto.

        21.   “Plaintiffs’ Properties” shall collectively refer to Plaintiffs’ Copyrights

  and Plaintiffs’ Trademarks.

        22.   “Plaintiffs’ Trademarks” shall, individually and collectively, refer to

  the word marks and/or design marks associated with trademarks owned by DEI

  and Lucasfilm, including the trademarks evidenced by the U.S. Trademark

  Registrations identified in the Complaint and indexed in Exhibit B, as attached

  hereto.

        23.   “Popsella” refers to Defendant Popsella Inc. a/k/a Popsella

  Marketplace, as well as those persons, organizations, or corporations, in active

  concert or participation with it, or acting or purporting to act on its behalf,

  including officers, agents, directors, employees, or representatives.

        24.   “Related” or “relating to” means containing, involving, constituting,

  considering, comprising, concerning, discussing, regarding, describing, reflecting,

  studying, commenting or reporting on, mentioning, analyzing, or referring,

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  alluding, or pertaining to, or in any way touching upon the subject matter sought,

  in whole or in part.

        25.    “SDG” means and refers to Defendant The Secret Dis Group LLC

  a/k/a The Secret Disney Group a/k/a Sparkling Dreamers a/k/a Sparkling

  Members, which includes all former iterations of such entities, as well as those

  persons, organizations, or corporations, in active concert or participation with it,

  or acting or purporting to act on its behalf, including officers, agents, directors,

  employees, or representatives.

        26.    “SDG Agent(s)” means any individual(s) acting on behalf of, or at the

  direction of, SDG in relation to the Infringing Services, which specifically includes

  the users acting as administrators and moderators to the SDG Social Media. For

  purposes of clarity, SDG Agent(s) also refers to Defendant CBM and Defendant

  HVM when acting in the aforementioned capacity.

        27.    “SDG Content” means material created, posted, or otherwise

  promoted by Defendants (or on their behalf), wherein such material involved use

  of Plaintiffs’ Properties, specifically text, image, and audio references to various

  properties (real and intellectual), characters, products, resorts, structures, rides,

  events, and attractions owned, operated, or otherwise associated with Plaintiffs,

  in conjunction with SDG’s online presence, including marketing, offering for sale,

  and selling the Infringing Services and Unauthorized Product, as otherwise found

  on numerous online platforms. For purposes of clarity, SDG Content includes SDG

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  Reviews as well as material that is published/presently viewable, temporary by

  design (e.g.: Facebook or Instagram Story; Snapchat Snap), or previously deleted,

  archived, or otherwise disabled, on all SDG Sites, SDG Social Media (e.g.: current

  and past pages, profiles, groups, and accounts, whether terminated, deactivated,

  renamed, or inactive), and SDG Third Party Sites.

        28.   “SDG Reviews” means the feedback or opinion(s) of customers

  regarding the Unauthorized Merchandise and/or their experience with SDG

  within the context of the Infringing Services. For purposes of clarity, SDG Reviews

  include such user generated content at any point, submitted to, or otherwise found

  on, the SDG Sites, SDG Social Media, or SDG Third Party Sites, regardless if the

  referenced content currently is, or was ever, publicly viewable.

        29.   “SDG Sites” means commercial website(s) registered to, owned or

  operated by, or otherwise associated with, any Defendant(s) during the Time

  Period,     including       secretdisneygroup.com,        sparklingdreamers.com,

  sparklingmembers.com, and popsella.com

        30.   “SDG Social Media” means the social media pages, profiles, groups,

  and accounts on various online platforms created by, registered to, operated by,

  or otherwise associated with any Defendant(s) during the Time Period, including

  platforms such as Facebook, Instagram, TikTok, MeWe, Twitter (n/k/a X),

  LinkedIn, Reddit, Snapchat, Pinterest, WeChat, and YouTube. For purposes of

  clarity, SDG Social Media means all past pages, profiles, groups, and accounts,

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  whether terminated, deactivated, renamed, or inactive, including without

  limitation, the following: The Secret Disney Group; Popsella; The Secret Theme

  Park Group – PART TWO; The Secret Disney Group – PART TWO; The Secret Dis

  Group – PART TWO; The Secret Disney Page; Sparkling Dreamers Group;

  Sparkling Dreamers; Popsella Marketplace; Popsella Group; Magical Photoshop

  Group; The Annual Pass Dis Group; The Secret Theme Park Group; The Secret Dis

  Group: Elite; Sparkling Members; Official Sellers of Orlando Theme Parks and

  Beyond Group; The Amazing Secret Theme Park Group; The Secret Theme Park

  Group with Chris & Hannah Martin; @traveltheworldwithchris; @officialpopsella;

  @heymauimartin; @heyhannahmartin; @heyhannahmartin0; @hannahferreirav;

  @chrismartinrocks; @originalchrismartin; @heychrismartin; @chrislovesdisney.

        31.   “SDG Third Party Sites” means any storefronts, marketplace shops,

  and seller accounts registered to, operated by, or otherwise associated with, any

  Defendant(s) found on third-party sales websites during the Time Period,

  including websites such as Etsy, eBay, and Amazon.

        32.   “Search    Terms”    mean    the   following    case-neutral   words,

  abbreviations, or acronyms: ad/advertise/advertisement; affiliate; AK; Amazon;

  analytics; Animal Kingdom; Bonuses; Business Suite; cap; case; character; click;

  Community Standards; Content Monetization Policies; copy/copying; copyright;

  counterfeit; CR; Creativity Program; Creator Fund; Creator Portal; Creator Studio;

  decal; Digital Creator; Dis/Disney; Disneyland; DVC; ear; eBay; engagement;

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  Epcot; Etsy; Facebook; fair use; fanny pack; FB; FYP; giveaway; hair accessory; hat;

  headband; Hollywood Studios; IG; illegal; influencer; infringe/infringing; insta;

  intellectual property; IP; jewelry; keychain; knock-off; Lake Buena Vista; lanyard;

  law; lawsuit; LBV; license/licensing; live; Magic Kingdom; magnet; mark;

  market/marketing; mask; member/membership; monetize; mouse [including

  standard Android and Apple ‘mouse’ emoji]; partner; Partner Monetization

  Policies; patch; payout; Performance Bonus Program; Popsella; post; Professional

  Dashboard; Professional Mode; promo/promotion; rat; reel; Reels Play;

  registration; resale/resell; resort; revenue; Reward Payment; scrunchie; SDG;

  secret;     SnapChat;    Sparkling   Dreamer;     sponsor/sponsorship;      sticker;

  Story/Stories; subscribe/subscription; TikTok; TM; trademark; TT; video; views;

  violate/violation; viral; Walt; WDW; YouTube; and all copyrighted character

  names identified as Plaintiffs’ Copyrights in the attached Exhibit A. Note that

  pursuant to Section 38(c) below, all such Search Terms shall include the pluralized

  term where applicable.

        33.     “Sparkling Dreamers Mark” refers to the trademark utilized by SDG

  that was the subject of USPTO Application No. 90460395, and includes all drafts,

  prototypes, or previously used iterations of said mark, as well as any hang tags,

  merchandise labels, or derivative logos depicting the same.




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        34.   “Supplier(s)” refers to any individual or entity utilized by SDG to

  manufacture and/or supply to SDG Unauthorized Merchandise or any

  component(s) of the same.

        35.   “Time Period” refers to the duration of time from July 1, 2007 (the

  approximate inception of SDG), through the date of the Interrogatories.

        36.   “Unauthorized Merchandise” means and refers to goods that infringe

  or otherwise trade upon Plaintiffs’ Properties, including such unauthorized

  products as identified in the Complaint and which are subject of the Litigation, as

  well as any part(s) or component(s) utilized in the manufacture or creation of such

  unauthorized products.

        37.   “You” and “your” refers to the person or entity to which the

  Interrogatories are served and/or the Defendant(s), as defined herein.

        38.   Construction of Request language:

              a.     The terms “and” or “or” are inclusive, and when either is used

                     it shall be construed as “and/or.”

              b.     Regardless of the tense employed, all verbs shall be construed

                     to apply all tenses (i.e.: past, present, and future).

              c.     Use of the singular shall include the plural, and vice versa.

              d.     Use of the terms “any” or “all” is conjunctive and shall be

                     construed to include the other.




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               e.    Unless the context specifically indicates otherwise, use of any

                     gender-specific pronoun includes all other pronouns.

               f.    The term “including” shall be construed as “including, but not

                     limited to” or “including without limitation.”



                                    INSTRUCTIONS

        1.     In accordance with Fed. R. Civ. P. 33, answer each Interrogatory

  separately and fully in writing under oath, unless it is objected to, in which event,

  state reasons for objection in lieu of an answer, and answer each other portion of

  the Interrogatory to which no objection is asserted. The answers are to be signed

  by the Person(s) providing them, and the objections signed by the attorney(s)

  making them. However, if, in accordance with Rule 33(d), you produce business

  records in lieu of an answer to an Interrogatory, specify the records from which

  the answer may be derived or ascertained in sufficient detail to permit Plaintiffs

  to locate and identify, as readily as the responding party, the records from which

  the answer may be ascertained and the actual answer. Documents produced in

  lieu of answering these Interrogatories should be produced in compliance with the

  instructions contained in Plaintiffs’ First Requests for Production.

        2.     You are to furnish all information available to you.

        3.     If you are unable to answer an Interrogatory fully, submit as much

  information as is available and explain why your answer is incomplete. If precise

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  information cannot be supplied, submit: (a) your best estimate or judgment, so

  identified, and set out the source or basis of the estimate or judgment; and (b)

  provide such information available to you as best approximates the information

  requested. Where incomplete answers, estimates, or judgment are submitted and

  you know of or have reason to believe there are other sources of more complete or

  accurate information, identify, or describe those other sources of information.

        4.     If an answer to an Interrogatory is not known, then that lack of

  knowledge must be specifically indicated in the response. If any information

  requested is not in your possession but is known or believed to be in the possession

  of another person, then identify that person and state the basis for your belief or

  knowledge that the requested information is in that person’s possession.

        5.     When an Interrogatory does not specifically request a particular fact,

  but such fact is necessary to make the response comprehensive, comprehensible,

  complete, or not misleading, the Interrogatory should be deemed to include a

  specific request for that fact or identification of relevant Documents.

        6.     If any Document identified was, but no longer is, in your custody,

  possession, or control, you are to state what disposition was made of it, identify

  its present custodian, and state who ordered or authorized such disposition.

        7.     In responding to these Interrogatories, preface each answer by

  restating the request to which the answer is addressed. Where a request for




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  information includes subparagraphs [e.g.: (a), (b), (c)], or subdivisions [e.g.: (i), (ii),

  (iii)], answer each subparagraph or subdivision separately.

         8.     These Interrogatories shall be deemed continuing in nature so as to

  require further and supplemental responses promptly if you receive, locate, or

  obtain further or different information after the initial answers are served. Such

  additional or supplemental answers shall be made as soon as reasonably practical

  following discovery of such further or different information and, in any event,

  within a reasonable time period prior to the close of fact discovery or

  commencement of trial.

         9.     For any objection that is based on an asserted claim of privilege,

  please state the following in the relevant response:

                a.     Brief description of the subject matter of the alleged privileged

                       information;

                b.     Nature and basis of the privilege claimed;

                c.     Paragraph(s) of the Interrogatory to which the information is

                       otherwise responsive;

                d.     Source(s) of the information; and

                e.     Identities of all Persons to whom such information has been

                       communicated, or with whom it has been shared, whether in

                       whole or in part.




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                                   INTERROGATORIES

  INTERROGATORY NO. 1:

        Identify the Person(s) answering these Interrogatories, supplying

  information, or in any way assisting in the preparation of answers on behalf of

  SDG, including full and current contact information, as well as their position with,

  or relationship to, SDG.

  ANSWER:



  INTERROGATORY NO. 2:

        Identify any Person(s) with ownership or financial interest in SDG at any

  point during the Time Period, including when such interest was received, what

  compensation was paid for said interest, and what Documents evidence this

  interest, and/or the sale or transfer of such interest.

  ANSWER:



  INTERROGATORY NO. 3:

        Identify the Person(s) with the most knowledge of SDG’s business

  operations,   including    providing    the    Infringing   Services,   creation   and

  manufacturing of the Unauthorized Merchandise, SDG’s online presence (e.g.:

  SDG Sites, SDG Social Media, and SDG Third Party Sites), and creation and use of

  the SDG Content.

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  ANSWER:



  INTERROGATORY NO. 4:

        Identify the Person(s) with the most knowledge of SDG’s finances (e.g.:

  Expenses, Gross Revenue, profits, etc.).

  ANSWER:



  INTERROGATORY NO. 5:

        Identify all Person(s) having any involvement in SDG’s operations,

  including their position(s), start and end dates of tenure in said position, and

  duties of said position. For purposes of clarity, this Interrogatory includes

  employees, independent contractors, and volunteers.

  ANSWER:



  INTERROGATORY NO. 6:

        Identify all SDG Agents, including their position(s), start and end dates of

  tenure in said position, and duties of said position.

  ANSWER:




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  INTERROGATORY NO. 7:

        Identify all Person(s) or entities with which SDG has had a formal or

  informal commercial relationship. For purposes of clarity, this Interrogatory

  includes Suppliers, affiliates, retail locations, partners, downstream distributors,

  and advertising sponsors, as well as any contract(s), agreement(s), or

  arrangement(s) governing said relationship.

  ANSWER:



  INTERROGATORY NO. 8:

        Identify the physical address(es) of all real property that is owned in whole

  or in part by any of the Defendants, or at any point acted as a headquarters,

  manufacturing facility, fulfillment center, or base of operations for SDG.

  ANSWER:



  INTERROGATORY NO. 9:

        For all Unauthorized Merchandise sold or distributed by SDG, identify the

  following:

               a.    Type of good (e.g.: face mask; fanny pack; mouse ear

                     headband)




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              b.    Product name/description (e.g.: “Secret Disney Group

                    Magnet;” “Bag of Bugs Ears;” “Robot 2dots Scrunchie;”

                    “Mermaid Shell Ears;” “Be Brave Ears”

              c.    The dates of each sale of the specific product identified

              d.    The sale price of each specific product identified

              e.    The each specific product identified

  ANSWER:



  INTERROGATORY NO. 10:

        Identify all events and physical locations where the Unauthorized

  Merchandise has been offered for sale.

  ANSWER:



  INTERROGATORY NO. 11:

        Identify and describe each action, affirmative step(s), or due diligence

  procedure(s) taken or otherwise implemented by you since December 2, 2021, to::

              a.    Comply with Plaintiffs’ demands set forth in the two (2)

                    demand letters issued to SDG, dated Dec. 1, 2021 and Dec. 7,

                    2021, respectively;




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               b.    Comply with the ‘litigation hold’ language concerning

                     preservation of evidence as set forth in Plaintiffs’ demand letter

                     to SDG, dated Dec. 7, 2021; and

               c.    Identify, preserve, and produce all ESI in any way related to

                     SDG’s operations or this Litigation.

  ANSWER:



  INTERROGATORY NO. 12:

        Identify and describe all websites, social media platforms, and web or

  mobile applications created during the Time Period, with use of the terms “Dis”

  or “Disney” in the name or title of the account, user, page, store, or group.

  ANSWER:



  INTERROGATORY NO. 13:

        Identify and describe all websites registered to, owned, or otherwise

  operated by SDG during the Time Period.

  ANSWER:



  INTERROGATORY NO. 14:

        Identify and describe all social media accounts, pages, and groups

  registered to, operated or otherwise used by, SDG at any point during the Time

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  Period. For purposes of clarity, this Interrogatory requests identification of the

  following with the corresponding account, page, or group:

              a.    Name or handle;

              b.    All     iterations   or    name     changes      to    the    same

                    account/page/group, including the date(s) of such change(s);

              c.    The corresponding platform; and

              d.    Dates of use (e.g.: creation date, termination date, or date of last

                    use).

  ANSWER:



  INTERROGATORY NO. 15:

        Identify and describe all third-party websites utilized by SDG to sell

  Unauthorized Merchandise, or advertise the Infringing Services, Unauthorized

  Merchandise, or SDG. For purposes of clarity, this Interrogatory requests

  identification of the following with the corresponding website:

              a.    Name or handle of account, page, storefront, or marketplace;

              b.    All iterations or name changes to the same account, page,

                    storefront, or marketplace, including the date(s) of such

                    change(s); and

              c.    Dates of use (e.g.: creation date, termination date, or date of last

                    use).

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  ANSWER:



  INTERROGATORY NO. 16:

        Identify all media management software (e.g.: Hootsuite), platform

  feature(s)/service(s), and web or mobile application(s) (e.g.: Ripl) used by any

  Defendant to create, generate, post, publish, or otherwise disseminate SDG

  Content via multiple accounts and/or across various platforms.

  ANSWER:



  INTERROGATORY NO. 17:

        Upon executing the necessary queries of Search Terms, identify all of the

  following that possess or otherwise contain discoverable ESI as related to SDG or

  this Litigation, along with a description (e.g.: terminated website content, deleted

  Instagram messages, Facebook account activity log, emails, Dropbox video

  recordings, etc.) of the corresponding ESI:

        a. Custodian(s);

        b. Non-custodial data sources (e.g.: shared drives and servers); and

        c. Third-party data sources (e.g.: email providers, cloud storage, social

           media platforms).

  ANSWER:




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  INTERROGATORY NO. 18:

        Identify and describe each action taken or SDG Content posted by you or

  any SDG Agents since December 2, 2021, to migrate SDG Social Media users and

  members to another group or page registered to, or otherwise operated by SDG.

  ANSWER:



  INTERROGATORY NO. 19:

        Identify all Person(s) that SDG intends to call as a fact or expert witness in

  this Litigation.

  ANSWER:



  INTERROGATORY NO. 20:

        State all facts, identify all Documents which evidence such facts, and

  identify all Person(s) with knowledge of such facts, which support any defense(s)

  asserted in the Answer to the Complaint.

  ANSWER:




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                            CERTIFICATE OF SERVICE

        I hereby certify that on October 27, 2023, a true and correct copy of the

  foregoing was furnished by electronic mail to the following counsel of record:


  Richard C. Wolfe, Esq.
  Wolfe Law Miami P.A.
  175 SW 7th St., Penthouse, Ste. 2410
  Miami, FL 33130
  rwolfe@wolfelawmiami.com




                                              /s/Kimberly A. Harchuck
                                              Kimberly A. Harchuck, Esq.
                                              Florida Bar No.: 0064852
                                              Michael W. O. Holihan, Esq.
                                              Florida Bar No.: 0782165
                                              Holihan Law
                                              1101 North Lake Destiny Rd., Ste 400
                                              Maitland, Florida 32751
                                              Telephone: (407) 660-8575
                                              michael.holihan@holihanlaw.com
                                              kimberly.harchuck@holihanlaw.com
                                              Counsel for Plaintiffs




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                                 VERIFICATION

       I, _________________________, AM AWARE THAT ANY MATERIAL
  FALSE STATEMENT KNOWINGLY MADE WITH THE INTENT TO DEFRAUD
  OR MISLEAD SHALL SUBJECT ME TO THE PENALTY OF PERJURY AND MAY
  BE CONSIDERED A FRAUD UPON THE COURT.

                                              _______________________________
                                              Individual on behalf of
                                              The Secret Dis Group LLC
                                              a/k/a The Secret Disney Group
                                              a/k/a Sparkling Dreamers
                                              a/k/a Sparkling Members


  STATE OF FLORIDA

  COUNTY OF _______________

        BEFORE ME, the undersigned authority, personally appeared
  ____________________ on behalf of The Secret Dis Group LLC a/k/a The Secret
  Disney Group a/k/a Sparkling Dreamers a/k/a Sparkling Members, after being
  sworn, deposes and states that the foregoing Answers to Interrogatories are true
  and correct to the best of his or her knowledge and belief, this ______ day of
  _________________, 2023.


  _____ Personally Known

  _____ Produced Identification as Follows:

  _______________________________


                                       ___________________________________
                                       Notary Public

                                       ___________________________________
                                       (Name of Notary Printed)

                                       Commission No.:

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                            EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                      PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                             COPYRIGHT
        CHARACTER                                   TITLE OF WORK           TYPE OF WORK
                              REG. NO.

          Aladdin            VA 504-973                    Aladdin          Licensing Kit
                                                                              Product
           Alice             VA 1-969-547   Disney Alice in Wonderland
                                                                            Development
                                              Disney Frozen Product           Product
           Anna              VA 1-887-054   Development Portfolio FH13      Development
                                                     Update                   Portfolio

         Anton Ego           VA 1-395-600       Ratatouille Cookbook         Style Guide

                                            The Disney Princess Branding      Branding
           Ariel             TX 5-520-621
                                                  Guide 2002-2004              Guide

           Ariel             VAu 143-283         The Little Mermaid         Licensing Kit

           Ariel             VA 851-710          The Little Mermaid          Style Guide

                                            The Aristocats Berkioz Marie
         Arisocats           VAu 654-024                                      Artwork
                                            Antoinette & Toulouse Sketch
                                               The Aristocats Scat Cats
         Aristocats          VAu 654-025                                      Sketches
                                                      Sketches
                                            The Disney Princess Branding      Branding
          Aurora             TX 5-520-621
                                                  Guide 2002-2004              Guide
                                                                            Pamphlet of
           Bambi             VA 124-730        Disney Character Guide
                                                                             Drawings
                                                                              Product
                                            Disney Big Hero 6 – Product
          Baymax             VA 1-944-063                                   Development
                                              Development Portfolio
                                                                              Portfolio
           Beast             VAu 210-914    Disney’s Beauty and the Beast   Licensing Kit

                                                The Disney Princess           Branding
           Belle             TX 5-520-621
                                             Branding Guide 2002-2004          Guide




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                            EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                      PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                             COPYRIGHT
        CHARACTER                                   TITLE OF WORK           TYPE OF WORK
                              REG. NO.


           Belle             VAu 210-914    Disney’s Beauty and the Beast   Licensing Kit

                                               Disney Pixar Brave: An
           Brave             VA 1-901-160   Original Walt Disney Records      Artwork
                                                     Soundtrack
                                                 Disney Pixar Brave
           Brave             VA 1-864-349                                    Style Guide
                                                Publishing Exclusive
       Buzz Lightyear        VAu 337-566     Toy Story – Buzz Lightyear       Artwork

       Buzz Lightyear        VA 735-197                Toy Story             Style Guide

                                               Shanghai Disney Resort
           Castle           VAu 1-224-516                                    Style Guide
                                                   Castle Graphic

                                             RunDisney WDW Marathon
           Castle           VAu 1-360-045                                    Style Guide
                                                  Weekend 2017

                                              Christmas 2017 Woodland
           Castle           VAu 1-359-338                                    Style Guide
                                                 Wonder Storybook


        Cheshire Cat         VA 1-969-547   Disney Alice in Wonderland       Style Guide

                                                                             Pamphlet of
           Chip              VA 124-730        Disney Character Guide
                                                                              Drawings
                                                                             Pamphlet of
       Chip and Dale         VA 124-730        Disney Character Guide
                                                                              Drawings
                                                                             Branding &
                                              Cinderella Branding and
         Cinderella          VA 1-831-706                                     Packaging
                                                    Packaging
                                                                                Guide
                                            The Disney Princess Branding      Branding
         Cinderella          TX 5-520-621
                                                  Guide 2002-2004              Guide

        Daisy Duck            Gp 81520                Daisy Duck             Model Sheet



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                          EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                    PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                           COPYRIGHT
        CHARACTER                                 TITLE OF WORK          TYPE OF WORK
                            REG. NO.
                                                                          Pamphlet of
            Dale           VA 124-730        Disney Character Guide
                                                                           Drawings

        Dalmatians         VAu 188-163    Walt Disney’s 101 Dalmatians   Licensing Kit


       Disney Villians     VA 1-374-907           Disney Villians         Style Guide


        Donald Duck         Gp 80184               Donald Duck            Model Sheet


           Dopey            Gp 81522                     Dopey            Model Sheet


                                             Disney Dumbo Heritage         Portfolio
          Dumbo            VA 2-133-757
                                             Guide Portfolio Version        Guide

                                             Disney Frozen Product         Product
            Elsa           VA 1-887-054      Development Portfolio       Development
                                                 FH13 Update               Portfolio

            Eric           VAu 143-283         The Little Mermaid        Licensing Kit
                                                                          Pamphlet of
           Fauna           VA 124-730        Disney Character Guide
                                                                           Drawings
          Figment         VAu 1-482-300     Figment Park Experience       Style Guide
                                                                          Pamphlet of
           Flora           VA 124-730        Disney Character Guide
                                                                           Drawings
         Flounder          VA 851-710           The Little Mermaid        Style Guide

         Flounder          VAu 143-283         The Little Mermaid        Licensing Kit
                                                                         Branding and
                                              Tangled Branding and
           Flynn           VA 1-729-798                                   Packaging
                                              Packaging Guidelines
                                                                            Guide




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                          EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                    PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                           COPYRIGHT
        CHARACTER                                 TITLE OF WORK             TYPE OF WORK
                            REG. NO.


           Forky           VA 2-174-533             Toy Story 4              Style Guide


           Genie           VA 504-973                    Aladdin            Licensing Kit

           Genie           VA 2-247-981     Aladdin 30th Anniversary         Style Guide

           Goofy            VA 58-936                    Goofy-1             Model Sheet

           Goofy            Gp 80187                     Goofy               Model Sheet

                                          Goofy Style – Portfolia Version
           Goofy           VA 2-101-248                                      Style Guide
                                             1 Greater China Global


     Haunted Mansion      VAu 1-428-582      Haunted Mansion Core            Style Guide


                                          Hocus Pocus – Gather Around
        Hocus Pocus        VA 2-191-518                                      Style Guide
                                                    Sisters

                                                Winnie the Pooh
         Hunny Pot         VA 2-202-228                                       Portfolio
                                              Up in Time for Hunny

                                           Tim Burton’s The Nightmare
      Jack Skellington     VA 1-733-698      Before Christmas Design         Style Guide
                                                     Portfolio

           Jafar           VA 504-973                    Aladdin            Licensing Kit

                                          The Disney Princess Branding        Branding
          Jasmine          TX 5-520-621
                                                Guide 2002-2004                Guide


          Jasmine          VA 1-308-594       Jasmine from Aladdin           Style Guide


          Jasmine          VA 504-973                    Aladdin            Licensing Kit



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                            EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                      PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                             COPYRIGHT
        CHARACTER                                   TITLE OF WORK         TYPE OF WORK
                              REG. NO.

           Jessie            VAu 405-572          Toy Story 2 – Jessie     Model Sheet
                                                                           Pamphlet of
        John Darling         VA 124-730        Disney Character Guide
                                                                            Drawings
            Joy              VA 1-927-017      Disney Pixar Inside Out     Style Guide

        Judy Hopps           VA 2-009-306          Disney Zootopia         Style Guide

        Kuzco Llama          VAu 479-683             Kuzco Llama          Model Sheets
                                                                            Product
        Mad Hatter           VA 1-969-547   Disney Alice in Wonderland
                                                                          Development
                                                                          Pamphlet of
         Maleficent          VA 124-730        Disney Character Guide
                                                                           Drawings
                                                                            Product
        March Hare           VA 1-969-547   Disney Alice in Wonderland
                                                                          Development
                                                                          Pamphlet of
           Marie             VA 124-730        Disney Character Guide
                                                                           Drawings
                                                Disney Mary Poppins
       Mary Poppins          VA 2-100-206                                  Style Guide
                                                      Returns
                                                                           Pamphlet of
       Merryweather          VA 124-730        Disney Character Guide
                                                                            Drawings
                                                                           Pamphlet of
      Michael Darling        VA 124-730        Disney Character Guide
                                                                            Drawings

                                             Disney Let Magic Light The
       Mickey Mouse          VA 1-886-828                                  Style Guide
                                                        Way



       Mickey Mouse           Gp 80183              Mickey Mouse           Model Sheet



                                            Disney Mickey Mouse – Adult
       Mickey Mouse          VA 2-056-530                                  Style Guide
                                                  Branding Version




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                           EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                   PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                            COPYRIGHT
        CHARACTER                                  TITLE OF WORK         TYPE OF WORK
                             REG. NO.


       Mickey Mouse        VAU 264-118            Partners Artwork         Artwork


                                               Disney Mickey Mouse:
       Mickey Mouse                                                       Foundation
                           VA 1-886-838         Mickey And Friends
        (Full Body)                                                         Guide
                                                 Foundation Guide


       Mickey Mouse                          Christmas 2017 Woodland
                           VAu 1-359-338                                  Style Guide
      (Santa Costume)                           Wonder Storybook


       Minnie Mouse        VA 1-857-568        It’s All About Minnie      Style Guide

       Minnie Mouse          Gp 80191              Minnie Mouse           Model Sheet

       Minnie Mouse          VA 58-938                Minnie - 1          Model Sheet

                                               Disney Minnie Mouse:
     Minnie Mouse Ears     VA 2-046-132                                    Portfolio
                                               The House of Minnie

     Minnie Three Circle                                                   Branding
                           VA 2-056-418    Disney Minnie Mouse Adult
          Design                                                            Guide

           Moana           VA 2-049-805            Disney Moana           Style Guide

            Olaf           VAu 1-155-858            Frozen - Olaf        Model Sheets

                                           Tim Burton’s The Nightmare
        Oogie Boogie       VA 1-733-698      Before Christmas Design      Style Guide
                                                     Portfolio


        Orange Bird         RE 869-521     The Orange Bird Sticker Fun    Stlye Guide


        Orange Bird         RE 785-224         The Orange Bird – 15        Drawing


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                           EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                     PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                            COPYRIGHT
        CHARACTER                                  TITLE OF WORK           TYPE OF WORK
                             REG. NO.
                                                Sketched of Cartoon
                                                     Character
          Oswald           VAu 1-463-102      D100 Oswald Moments           Style Guide

         Peter Pan           RE 64-027                Peter Pan            Motion Picture
                                                                            Pamphlet of
         Peter Pan          VA 124-730        Disney Character Guide
                                                                             Drawings
                                                                            Pamphlet of
           Piglet           VA 124-730        Disney Character Guide
                                                                             Drawings
         Pinocchio          VA 490-865                Pinocchio            Licensing Kit

        Pirates of the                       Pirates of the Caribbean –
                            VA 1-369-221                                    Style Guide
         Caribbean                           Umbrella Branding Guide

                                            Pirates of the Caribbean: At
        Pirates of the
                            VA 1-414-966      World’s End Packaging         Style Guide
         Caribbean
                                                      Updates
                                             Pluto Publications Model
            Pluto            Gp 80192                                       Model Sheet
                                                      Sheet
                                                                            Pamphlet of
      Prince Charming       VA 124-730        Disney Character Guide
                                                                             Drawings
                                                                            Pamphlet of
       Prince Phillip       VA 124-730        Disney Character Guide
                                                                             Drawings
      Queen of Hearts       VA 1-969-547   Disney Alice in Wonderland       Style Guide

                                               Tangled Branding and          Branding
         Rapunzel           VA 1-729-798
                                               Packaging Guidelines           Guide

         Ratatouille        VA 1-395-600       Ratatouille Cookbook         Style Guide

            Rex             VAu 337-568            Toy Story - Rex           Artwork

                                                                            Pamphlet of
         Robinhood          VA 124-730        Disney Character Guide
                                                                             Drawings



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                          EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                    PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                           COPYRIGHT
        CHARACTER                                 TITLE OF WORK          TYPE OF WORK
                            REG. NO.

                                          Tim Burton’s The Nightmare
            Sally          VA 1-733-698     Before Christmas Design       Style Guide
                                                    Portfolio

           Simba           VA 611-201             The Lion King          Licensing Kit

           Simba           VAu 246-440    The Lion King – Young Simba     Model Sheet


      Sleeping Beauty       RE 296-296           Sleeping Beauty         Licensing Kit


                                            Snow White & the Seven
        Snow White         TXu 546-761                                   Licensing Kit
                                                  Dwarfs

                                          Disney Princess: Snow White
        Snow White         VA 1-893-848                                   Style Guide
                                            – The Fairest One of All

                                          The Disney Princess Branding     Branding
        Snow White         TX 5-520-621
                                                Guide 2002-2004             Guide

                                                                          Pamphlet of
      Sorcerer Mickey      VA 124-730        Disney Character Guide
                                                                           Drawings


           Stitch          VA 1-094-896           Lilo and Stitch         Style Guide


          Tangled          VA 1-739-212    Tangled – Teaser One Sheet      Portolio



       The Incredibles     VA 1-242-351           The Incredibles         Style Guide



     The Little Mermaid    PA 431-543          The Little Mermaid         Style Guide




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                             EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                       PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                              COPYRIGHT
        CHARACTER                                    TITLE OF WORK          TYPE OF WORK
                               REG. NO.

                                               Simply Mickey Fashion &
     Three Circle Design      VA 1-812-381                                   Style Guide
                                                   Home P- Infant


                                                                              Branding
     Three Circle Design      VA 2-056-530    Disney Mickey Mouse Adult
                                                                               Guide

                                                                              Product
           Tiana              VA 1-681-711     Princess and the Frog, The   Development
                                                                              Portfolio


         Tinker Bell          VA 891-493      Disney Classics – Volume II    Style Guide



         Tinker Bell          VA 1-110-867       Tinker Bell Style Guide     Style Guide


         Toy Story            VA 1-800-737              Toy Story 3          Style Guide


        Turning Red           VA 2-249-971      Turning Red Style Guide      Style Guide


                                                   Up – Character Art
             Up               VA 1-812-460                                   Style Guide
                                                      Supplement

           Ursula             VA 851-710           The Little Mermaid        Style Guide


           Ursula             VAu 143-283          The Little Mermaid       Licensing Kit


                                                   WALL-E - Product
          WALL-E              VA 1-685-920                                   Style Guide
                                                    Development

                                                                             Pamphlet of
       Wendy Darling          VA 124-730        Disney Character Guide
                                                                              Drawings


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                        EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                  PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                         COPYRIGHT
        CHARACTER                               TITLE OF WORK         TYPE OF WORK
                          REG. NO.


        White Rabbit     VA 1-969-547    Disney Alice in Wonderland    Style Guide


      Winnie the Pooh     VA 58-940      Pooh – 1 (Winnie the Pooh)    Model Sheet


                                                                       Pamphlet of
      Winnie the Pooh     VA 124-730       Disney Character Guide
                                                                        Drawings


      Winnie the Pooh    VA 608-558       “Pooh” – Winnie the Pooh    Licensing Kit


                                        Winnie the Pooh Foundation
      Winnie the Pooh    VA 1-369-225                                  Style Guide
                                                    Art


          Woody           VA 735-197                Toy Story          Style Guide


          Woody          VAu 455-926               Toy Story 2         Style Guide


          Woody          VAu 337-565          Toy Story - Woody         Artwork

                                        Tim Burton’s The Nightmare
           Zero          VA 1-733-698     Before Christmas Design      Style Guide
                                                  Portfolio




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                          EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                      PLAINTIFF LUCASFILM COPYRIGHTED PROPERTIES



                             COPYRIGHT
         CHARACTER                                 TITLE OF WORK       TYPE OF WORK
                              REG. NO.


                                                      Star Wars:
        Darth Vader         VA 1-910-796                                Style Guide
                                                 Classics – Guide EV


      The Mandalorian:                            The Mandalorian:
                            VA 2-180-254                                Style Guide
         The Child                                   The Child

                                                      Star Wars:        Style Guide
           Yoda             VA 1-910-796
                                                 Classics – Guide EV




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                        EX. B – PLAINTIFFS’ TRADEMARK INDEX


                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK        DATE OF
       MARK                  DESIGN                                              CLASS
                                                  REG. NO.       ISSUANCE

 BAY LAKE TOWER                                    3,832,505   Aug. 10, 2010      043

   BIG THUNDER
    MOUNTAIN                                       3,093,871   May 16, 2006       041
     RAILROAD


       Brave                                       4,764,768   June 30, 2015      025




       Brave                                       4,764,766   June 30, 2015      041




        Cars                                       3,420,795   April 29, 2008     041




       Castle                                      4,006,387   Aug. 2, 2011       009



                                                                            014, 020,
   CHESHIRE CAT                                    3,794,964   May 25, 2010 021, 024,
                                                                            025, 028
                                                                                016, 020,
  CHIP AND DALE                                    3,900,892    Jan. 4, 2011    021, 025,
                                                                                  028

    CINDERELLA                                     1,964,330   Mar. 26, 1996      025




                                 Ex. B, Page 1 of 15
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                        EX. B – PLAINTIFFS’ TRADEMARK INDEX


                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK       DATE OF
       MARK                  DESIGN                                              CLASS
                                                  REG. NO.      ISSUANCE

      DISNEY                                       2,888,282   Sept. 28, 2004     009


      DISNEY                                       3,088,198   May 2, 2006        025

      DISNEY                                       3,340,426   Nov. 20, 2007      025


      DISNEY                                       3,432,510   May 20, 2008       028


      DISNEY                                       4,042,815   Oct. 18, 2011      003

                                                                                018, 020,
      DISNEY                                       4,063,531   Nov. 29, 2011
                                                                                021, 024

      DISNEY                                       4,067,997   Dec. 6, 2011       041


      DISNEY                                       4,208,634   Sept. 18, 2012     026


      DISNEY                                       5,912,700   Nov. 19, 2019      035


       Disney                                      5,312,434   Oct. 17, 2017      025


      DISNEY
    CALIFORNIA                                     4,007,306   Aug. 2, 2011       041
    ADVENTURE

  DISNEY DREAM                                     3,948,323   Apr. 19, 2011      041

  DISNEY DREAM                                     3,948,324   Apr. 19, 2011      039

  DISNEY DREAM                                     3,951,384   Apr. 26, 2011      043


                                 Ex. B, Page 2 of 15
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                            EX. B – PLAINTIFFS’ TRADEMARK INDEX


                       PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                     TRADEMARK       DATE OF
       MARK                      DESIGN                                             CLASS
                                                      REG. NO.      ISSUANCE

    Disney Frozen                                      4,816,352   Sep. 22, 2015     041


  DISNEY FROZEN                                        5,693,668   Mar. 5, 2019      025


   DISNEY MAGIC                                        2,240,945   Apr. 20, 1999     039


  DISNEY MOANA                                         5,311,712   Oct. 17, 2017     041

   DISNEY PIXAR
                                                       4,358,315   June 25, 2013     041
      BRAVE


    Disney Pixar
                                                       5,619,254   Nov. 27, 2018     025
    Incredibles 2



    Disney Pixar
                                                       5,891,734   Oct. 22, 2019     025
    Incredibles 2



 Disney Presents the
                                                       6,859,232   Sep. 27, 2022     041
     Lion King


 DISNEY PRINCESS                                       3,367,264    Jan. 8, 2008     025

 DISNEY PRINCESS                                       3,506,495   Sept. 23, 2008    025

  DISNEY RESORTS                                       4,495,509   Mar. 11, 2014     003

  DISNEY SPRINGS                                       5,060,045   Oct. 11, 2016     041




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                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK       DATE OF
       MARK                  DESIGN                                             CLASS
                                                  REG. NO.      ISSUANCE

  DISNEY SPRINGS                                   5,060,046   Oct. 11, 2016      043


  DISNEY SPRINGS                                   5,073,782   Nov. 1, 2016       035

     DISNEY
                                                   4,076,516   Dec. 27. 2011      043
  VACATION CLUB

 DISNEY’S ANIMAL       DISNEY'S ANIMAL
                                                   2,189,638   Sept. 15, 1998     041
    KINGDOM               KINGDOM

  DISNEY’S BEACH
                                                   3,315,476   Oct. 23, 2007    036, 043
       CLUB

 DISNEY’S BEAUTY
                                                   2,870,954   Aug. 10, 2004      025
  AND THE BEAST

    DISNEY’S
   HOLLYWOOD                                       3,667,223   Aug. 11, 2009      041
     STUDIOS
      DISNEY’S
    POLYNESIAN                                     4,871,472   DEC. 15, 2015      043
  VILLAGE RESORT
 DISNEY’S RETURN
                                                   2,923,690    Feb. 1, 2005      016
  TO NEVERLAND

     Disneyland                                    0,857,667   Sept. 24, 1968     041

                                                                             006, 014,
                                                                             016, 018,
                                                                             021, 025,
   DISNEYLAND                                      1,037,788   APR. 13, 1976
                                                                             026, 028,
                                                                             039, 041,
                                                                               042

   DISNEYLAND                                      3,330,444   NOV. 6, 2007       035


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                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK       DATE OF
       MARK                  DESIGN                                              CLASS
                                                  REG. NO.      ISSUANCE

   DISNEYLAND                                      3,415,502   Apr. 22, 2008      025


  DONALD DUCK           DONALD DUCK                2,949,699   May 10, 2005       025

                                                                                009, 014,
      DUMBO                                        3,846,594   Sep. 7, 2010     016, 018,
                                                                                  020
    DUMBO THE
      FLYING                                       3,112,603    July 4, 2006      041
    ELEPHANT

       EPCOT                                       1,380,818   Jan. 28, 1986      041


       EPCOT                                       3,290,612   Sept. 11, 2007     041


     FASTPASS                                      2,402,898   Nov. 7, 2000       041


   FINDING DORY                                    5,086,905   Nov. 22, 2016      025


   FINDING DORY                                    5,301,701    Oct. 3, 2017      041



    Finding Nemo                                   3,418,785   Apr. 29, 2008      041




  FRONTIERLAND                                     0,901,015   Oct. 13, 1970      041




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                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK       DATE OF
       MARK                  DESIGN                                              CLASS
                                                  REG. NO.      ISSUANCE

                                                                                009, 016,
                                                                                018, 020,
       Goofy                                       2,721,608   June 3, 2003
                                                                                021, 025,
                                                                                  028

      GOOFY                                        4,358,251   June 25, 2013      041

     HAUNTED
                     HAUNTED MANSION               3,142,876   Sept. 12, 2006     041
     MANSION

    INSIDE OUT                                     5,915,037   Nov. 19, 2019      025

    INSIDE OUT                                     5,232,808   June 27, 2017      041

  JUNGLE CRUISE         JUNGLE CRUISE              2,969,996   July 19. 2005       41


  JUNGLE CRUISE                                    6,548,585   Nov. 2, 2021       041


  JUNGLE CRUISE                                    6,725,221   May 24, 2022       028


  JUNGLE CRUISE                                    6,725,223   May 24, 2022       025


  LIBERTY SQUARE                                   3,090,973   MAY 9, 2006        041

 LILO AND STITCH                                   2,821,509   Mar. 9, 2004       025

 MAGIC KINGDOM         MAGIC KINGDOM               1,072,396   Aug. 30, 1977      041

   MAIN STREET
                                                   0,899,439   Sept. 22, 1970     041
      U.S.A.

  MICKEY MOUSE                                     0,247,156   Sept. 18, 1928     009


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                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK       DATE OF
       MARK                  DESIGN                                             CLASS
                                                  REG. NO.      ISSUANCE

  MICKEY MOUSE          MICKEY MOUSE               3,036,883   Dec. 27, 2005     041


  MICKEY MOUSE          MICKEY MOUSE               3,011,935   Nov. 1, 2005      025


  MICKEY MOUSE                                     3,115,395   July 11, 2006     028


  MICKEY MOUSE                                     3,308,015   Oct. 9, 2007      041


  MICKEY MOUSE                                     3,588,873   Mar. 10, 2009     009

                                                                               009, 016,
  MICKEY MOUSE                                     3,750.188   Feb. 16, 2010
                                                                               018, 025


                                                                               016, 018,
                                                                               020, 021,
    Mickey Mouse                                   2,704,887   Apr. 8, 2003
                                                                               024, 025,
                                                                                 028




    Mickey Mouse                                   3,580,903   Feb. 24, 2005      25




    Mickey Mouse                                   3,587,508   Mar. 10, 2009     021




    Mickey Mouse                                   5,464,657   May 8, 2018       041




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                     PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                   TRADEMARK       DATE OF
       MARK                    DESIGN                                             CLASS
                                                    REG. NO.      ISSUANCE


    Mickey Mouse
                                                     1,524,601   Feb. 14, 1989     025
       Ear Hat


  MINNIE MOUSE                                       3,002,502   Sept. 27, 2005    025


  MINNIE MOUSE                                       3,131,283   Aug. 15, 2006     041


  MINNIE MOUSE                                       3,562,424   Feb. 19, 2009     016

                                                                               014, 018,
  MINNIE MOUSE                                       3,588,872   Mar. 10, 2009 020, 021,
                                                                                 024

  MINNIE MOUSE                                       3,767,850   Mar. 30, 2010 025, 028


  MINNIE MOUSE                                       3,915,194   Feb. 1, 2011      003


  MINNIE MOUSE                                       4,112,058   Mar. 13, 2012     041




    Minnie Mouse                                     5,027,915   Aug. 23, 2016     028




  Oswald the Lucky
                                                     5,317,926   Oct. 24, 2017     025
      Rabbit




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                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                 TRADEMARK       DATE OF
       MARK                  DESIGN                                             CLASS
                                                  REG. NO.      ISSUANCE

    PETER PAN                                      3,655,992   July 14, 2009     025

    PETER PAN                                      3,662,111   July 28, 2009     041

    PETER PAN’S
                                                   2,969,993   July 19, 2005     041
      FLIGHT

  PIRATES OF THE
                                                   3,428,446   May 13, 2008      025
    CARIBBEAN

  PIRATES OF THE
                                                   3,532,604   Nov. 11, 2008     041
    CARIBBEAN

       PLUTO                                       4,309,514   Mar. 26, 2013     025


                                                                             016, 018,
        Pluto                                      2,707,323   Apr. 15, 2003 021, 024,
                                                                             025, 028




       POOH                                        3,395,652   Mar. 11, 2008



     SPACE 220                                     6,725,275   May 24, 2022      043

     SPACE
                                                   1,102,369   Sept. 12, 1978    041
    MOUNTAIN

    THE DISNEY
                                                   1,343,334   June 18, 1985     038
     CHANNEL

    THE JUNGLE
                                                   5,932,232   Dec. 10, 2019     025
      BOOK



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                      PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                     TRADEMARK       DATE OF
       MARK                     DESIGN                                             CLASS
                                                      REG. NO.      ISSUANCE
    THE JUNGLE
                                                       5,932,233   Dec. 10, 2019    041
      BOOK


  THE LION KING                                        1,940,193   Dec. 5, 1995     025


    THE LITTLE
                                                       4,119,509   Mar. 27, 2012    041
     MERMAID



 Three Circle Mouse
                                                       2,784,058   Nov. 18, 2003    025
     Ear Device



 Three Circle Mouse
                                                       5,670,367   Feb. 5, 2019     014
     Ear Device




     Tinker Bell                                       3,370,950   Jan. 15, 2008    025




    TINKER BELL                                        3,493,124   Aug. 26, 2008    025


    TINKER BELL                                        4,023,555   Sept. 6, 2011    041


    TINKERBELL                                         1,308,026   Dec. 4, 1984     018


    TINKERBELL                                         1,613,931   Sep. 18, 1990    025




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                   PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                  TRADEMARK       DATE OF
       MARK                  DESIGN                                             CLASS
                                                   REG. NO.      ISSUANCE

    TINKERBELL                                      1,634,888   Feb. 12, 1991    025


    TINKERBELL                                      3,580,887   Feb. 24, 2009    025


    TOONTOWN                                        1,768,253   Apr. 27, 1993    041


    TOY STORY                                       3,971,114   May 31, 2011     041

   TRADER SAM’S
                                                    4,774,057   JULY 14, 2015    043
   GROG GROTTO

   TURNING RED                                      6,810,470   Aug. 2, 2022     025

   TWEEDLEDUM
      AND                                           4,972,769   June 7, 2016     025
   TWEEDLEDEE


         UP                                         3,738,165   Jan. 12, 2010    041




         UP                                         3,738,168   Jan. 12, 2010    025



      WALL •E                                       3,528,986   NOV. 4, 2008     016


   WALT DISNEY                                      4,006,400   Aug. 2, 2011     041

                                                                              016, 025,
   WALT DISNEY
                     WALT DISNEY WORLD              0,980,955   Mar. 26, 1974 039, 041,
     WORLD
                                                                                042


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                       PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                      TRADEMARK       DATE OF
       MARK                      DESIGN                                             CLASS
                                                       REG. NO.      ISSUANCE
   WALT DISNEY
                                                        3,142,890   May 24, 2005     039
     WORLD

                                                                                  009, 014,
 Walt Disney’s Alice                                                              016, 018,
                                                        2,895,968   Oct. 19, 2004
  in Wonderland                                                                   021, 024,
                                                                                  025, 028



                                                                                   009, 014,
                                                                                   016, 018,
 Walt Disney’s Bambi                                    2,889,386   Sept. 28, 2004
                                                                                   021, 024,
                                                                                   025, 028




                                                                                   009, 014,
    Walt Disney’s                                                                  016, 018,
                                                        3,057,988   Feb. 7, 2006
     Cinderella                                                                    021, 024,
                                                                                   025, 028



                                                                                  009, 014,
    Walt Disney’s                                                                 016, 018,
                                                        2,895,969   Oct. 19, 2004
      Dumbo                                                                       021, 024,
                                                                                  025, 028


                                                                                  009, 014,
 Walt Disney’s Peter                                                              016, 018,
                                                        2,895,967   Oct. 19, 2004
        Pan                                                                       021, 024,
                                                                                  025, 028




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                     PLAINTIFF DEI TRADEMARK PROPERTIES [CONT’D.]


                                                    TRADEMARK       DATE OF
       MARK                    DESIGN                                               CLASS
                                                     REG. NO.      ISSUANCE


                                                                                009, 014,
    Walt Disney’s
                                                      2,895,966   Oct. 19, 2004 016, 018,
   Sleeping Beauty
                                                                                021, 028



                                                                                   003, 009,
 Walt Disney’s Snow                                                                014, 016,
 White and the Seven                                  2,891,463    Oct. 5, 2004    018, 021,
       Dwarfs                                                                      024, 025,
                                                                                     028



  WHERE DREAMS
                                                      3,416,077   Apr. 22, 2008      041f
   COME TRUE



    WINNIE THE
                                                      5,932,484   Dec. 10, 2019      025
      POOH

    WINNIE THE
                        WINNIE THE POOH               3,344,934   Nov. 27, 2007      041
      POOH

     ZOOTOPIA                                         4,961,690   May 17, 2016       025


     ZOOTOPIA                                         5,043,023   Sept. 13, 2016     041




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                    PLAINTIFF LUCASFILM TRADEMARK PROPERTIES


                                                 TRADEMARK       DATE OF
         MARK                 DESIGN                                             CLASS
                                                  REG. NO.      ISSUANCE


      Darth Vader                                  3,443,878   June 10, 2008 025, 028




      Darth Vader                                  3,646,330   June 30, 2009 025, 028




      Darth Vader                                  3,443,879   June 10, 2008 025, 028




      Darth Vader                                  3,646,331   June 30, 2009 025, 028




 MAY THE 4TH BE WITH
                                                   4,605,773   Dec. 20, 2011      041
       YOU


 MAY THE 4TH BE WITH
                                                   5,087,060   Nov. 22, 2016      025
       YOU



      STAR WARS                                    2,565,479   Apr. 30, 2002      035



                                                                                016, 025,
       Star Wars                                   3,503,765   Sept. 23, 2008
                                                                                  041




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                    PLAINTIFF LUCASFILM TRADEMARK PROPERTIES



         Yoda                                      3,716,938   Nov. 24, 2009 016, 025




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